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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

   UNITED STATES OF AMERICA                  §
                                             §
   v.                                        §           No. 4:16CR176
                                             §           Judge Mazzant
   JAMES MORRIS BALAGIA (3)                  §
   a.k.a. “DWI Dude”                         §

    GOVERNMENT’S EMERGENCY MOTION FOR A STATUS CONFERENCE

          The United States, by and through the United States Attorney for the Eastern District

  of Texas, hereby requests that this Court set this matter for an immediate status conference.

  On this date, the counsel for the Defendant made the Government aware of substantial

  concerns that the trial date may be at risk. The Government believes that, in order to

  preserve the previously established trial date, the Court may need to take action quickly to

  address those concerns. The Government requests a status conference.

                                             Respectfully submitted,

                                             JOSEPH D. BROWN
                                             United States Attorney

                                                 /s/
                                             JAY R. COMBS
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                               CERTIFICATE OF CONFERENCE

          I certify that on July 23, 2019, I attempted to confer with counsel for the Defendant

  via email. A response had not been received at the time of the filing of this motion. It is

  unknown if the Defendant is opposed to the filing or granting of this motion.


                                                       /s/
                                                     JAY R. COMBS


                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was sent via electronic

  filing on July 24, 2019.



                                                       /s/
                                                     JAY R. COMBS




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